     Case 1:09-cr-00331-RJA        Document 2149        Filed 10/30/17    Page 1 of 17




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                                DECISION AND ORDER
           v.                                                        09-CR-331-A

DOMENICO ANASTASIO,

                      Defendant.


       Defendant Domenico Anastasio was convicted, after a jury trial, of one

count of racketeering conspiracy in violation of 18 U.S.C. § 1962(d) and two

counts of murder in aid of racketeering in violation of 18 U.S.C. § 1959(a)1. The

convictions were for conspiracy to participate in organized criminal activities of a

violent street gang in Buffalo, New York, and for Defendant Anastasio’s

accessorial role in the April 17, 2006 racketeering murders of Brandon

MacDonald and Darinell Young. Each of the two murder convictions carries a

sentence of mandatory life imprisonment. 18 U.S.C. § 1959(a)(1).

       Defendant Anastasio moves pursuant to Fed. R. Crim. P. 29 for a judgment

of acquittal notwithstanding the jury’s verdicts based primarily upon his argument

that there was insufficient evidence for a rational jury to find him guilty as an

accessory to the two racketeering murders. He challenges two special factors



       1
         A redacted Indictment is at Dkt. No. 1771. Approximately forty co-defendants and
related defendants entered guilty pleas to related charges. Defendant Anastasio and three co-
defendants, each of whom were also found guilty of all charges against them, were the only
defendants who sought a trial.
     Case 1:09-cr-00331-RJA     Document 2149      Filed 10/30/17   Page 2 of 17




findings of murder made by the jury in relation to the RICO conspiracy on the

same grounds.

      Defendant Anastasio moves in the alternative for a new trial pursuant to

Fed. R. Crim. P. 33 based upon arguments that he was, at most, a mere knowing

bystander during planning and preparation for the murders. The Defendant

maintains that he did not intentionally aid the principals who committed the

murders while intending that the principals commit acts of murder. The

Defendant claims not only insufficient proof that he is guilty; he claims he is

innocent.

      For the reasons stated below, the Court finds the jury’s guilty verdicts were

supported by legally-sufficient evidence, and were not a miscarriage of justice.

Defendant Anastasio’s motions pursuant to Rule 29 for a judgment of acquittal

and pursuant to Rule 33 for a new trial are therefore denied.

                                  BACKGROUND

      During a trial that last more than five weeks, evidence showed that

Defendant Anastasio and the two co-defendants who were tried with him were

associates and members of the 10th Street Gang, a violent street gang that

operated on the Lower West Side of Buffalo. Members and associates of the

Gang engaged in criminal activities that supported the Gang, including violence,

threats of violence, and drug-trafficking. Members and associates were involved

in Gang-related distribution of heroin, cocaine, crack cocaine, marijuana, and


                                          2
     Case 1:09-cr-00331-RJA     Document 2149     Filed 10/30/17   Page 3 of 17




ecstasy.

      Primarily to protect territory that the 10th Street Gang claimed exclusively

as its own for drug dealing, and to assert and maintain its relative standing in a

loose hierarchy of local street gangs, members and associates of the Gang were

involved in murders, attempted murders, and assaults. Members and associates

of the Gang routinely possessed firearms during their criminal activities, and

evidence showed that firearms were freely shared among Gang members.

      The territory of the 10th Street Gang was a neighborhood rife with poverty

and violence. The evidence at trial showed that, like most street gangs, the Gang

was, in the minds of its members and associates, only partly about crime. The

Gang was for some more about social acceptance, support, excitement, and

structures that were lacking elsewhere. The Gang held neighborhood parties. It

offered a hierarchy of leadership and a clear path to gain approval and respect.

One could “put in work” by fighting, committing crimes, or by making sacrifices for

Gang members or for the Gang, to earn trust and to build a sense of belonging

and higher status.

      The 10th Street Gang was a rival of other street gangs, and it had a long-

standing violent rivalry with the 7th Street Gang, a similar neighborhood criminal

gang which operated nearby on the Lower West Side of Buffalo. At times, deadly

violence erupted between the 10th Street Gang and the 7th Street Gang. The

murder victims in this case, Brandon MacDonald and Darinell Young, were


                                          3
     Case 1:09-cr-00331-RJA     Document 2149     Filed 10/30/17   Page 4 of 17




murdered in the early-morning hours on April 17, 2006, because they were

mistaken for associates of the 7th Street Gang by members and associates of the

10th Street Gang who were retaliating for an earlier mistaken-identity shooting by

a 7th Street Gang member.

      Evidence during the trial established that Defendant Anastasio was a long-

time associate and member of the 10th Street Gang. He conceded his life-long

friendships with several admitted Gang members, but he maintained during trial

and post-trial argument that the relationships were just friendships.

      There was testimony during the trial about Defendant Anastasio with

firearms on several occasions at the 10th Street Park, near the intersection of

10th Street and Maryland Street, where Gang members sold drugs. On April 16,

2006, the Defendant was with a group of about 10 to 15 Gang members and

associates about a block away from the Park, near West Avenue and Maryland

Street, on their way to an afternoon barbecue. Among the Gang members who

were present was Douglas Harville, a former member of the 7th Street Gang who

had moved into 10th Street Gang territory and been accepted into the Gang.

Robert Sanabria, a younger brother of Defendant Anastasio’s co-defendant and

fellow 10th Street Gang member, Jonathan Delgado, was also present; he was

shot in the stomach and seriously injured during a drive-by shooting.

      After Robert Sanabria was loaded into an ambulance, Defendant Anastasio

and others who had been at the shooting walked a short distance to gather at the


                                         4
     Case 1:09-cr-00331-RJA     Document 2149     Filed 10/30/17   Page 5 of 17




10th Street Park. They were afraid Sanabria might die. They were upset and

angry about the shooting.

      Robert Sanabria later identified 7th Street Gang member Luis Medina as

the person who shot him to the Buffalo Police Department. Others who were

present, including Douglas Harville, immediately recognized Medina. The

drive-by shooting of Sanabria by Medina was a case of mistaken identity: Medina

meant to shoot a 10th Street Gang member who had recently been involved in an

altercation with 7th Street Gang members outside a party. Sanabria had

borrowed a New York Yankees jacket from that 10th Street member. Medina

believed he was shooting the owner of the jacket in retaliation for the earlier

incident when he shot Sanabria.

      The shooting of Robert Sanabria was the first time in long-running violence

between the 7th Street Gang and the 10th Street Gang that 7th Street Gang

members had crossed Niagara Street into 10th Street Gang territory to shoot a

10th Street Gang associate or member. As a result, the shooting had added

significance as a challenge and an insult to the 10th Street Gang.

      Some of those who gathered at the 10th Street Park in the immediate

aftermath of the shooting began to plan retaliation. Some began seeking

firearms they could use to retaliate.

      While Defendant Anastasio was at the 10th Street Park, a teenaged couple

walked by on the street, and someone confronted the male and demanded to


                                          5
     Case 1:09-cr-00331-RJA    Document 2149      Filed 10/30/17   Page 6 of 17




know if he was associated with the 7th Street Gang. The female said “No,” but

when the male responded with profanity, the Defendant and other members of

the 10th Street Gang attacked him. The couple were stomped on until they were

rescued by passers by. After this incident, the gathering at the 10th Street Park

broke up and it was agreed that persons who would retaliate against the 7th

Street Gang would make their way to an apartment on the corner of Carolina and

Niagara Streets, where 10th Street Gang members Sam Thurmond and James

Foxworth lived.

      Defendant Anastasio knew that 10th Street Gang members and associates

who had decided to shoot 7th Street Gang members in retaliation for the drive-by

shooting of Robert Sanabria were gathering at Thurmond’s and Foxworth’s

apartment to plan and to allocate the guns that were being collected to use to

retaliate. The Defendant went to the apartment, and while he was there, people

spoke of killing Luis Medina and shooting other 7th Street Gang members.

      Some firearms that were to be used for the retaliation were on the bed in

James Foxworth’s bedroom. Among them was a .44 caliber handgun with just

one shell. Defendant Anastasio had it in his hands when Douglas Harville arrived

and sought to claim the gun for his own use in the retaliation. Harville had

recognized 7th Street Gang member Luis Medina when Medina shot Robert

Sanabria. Harville told the Defendant that he was very close with Sanabria’s

brother, Jonathan Delgado, that he had been very close to being shot himself,


                                         6
     Case 1:09-cr-00331-RJA     Document 2149      Filed 10/30/17   Page 7 of 17




and that he needed to participate in the retaliation. The Defendant refused to

give up the gun, and he told Harville that he was going to use the gun to retaliate

himself.

      Douglas Harville was a higher-ranking member of the 10th Street Gang

than Defendant Anastasio. He was among those known to have shot at other

persons, and he had respect in the 10th Street Gang for it, while the Defendant

had never shot at anyone. After a back-and-forth conversation about who would

use the .44 caliber handgun to retaliate, Harville told the Defendant that Harville

had to be the one. At that point, the Defendant handed the gun to Harville. Dkt.

No 1875, pp. 3281-3283.

      Defendant Anastasio had previously sold a shotgun to members of an

affiliated street gang known as the Zolo Boys. When four Zolo Boys arrived at

Sam Thurmond’s and James Foxworth’s apartment with the shotgun to join in the

retaliation against Luis Medina and the 7th Street Gang, the Defendant told them

that he knew how to shoot the gun, and he attempted to buy it back so that he

could participate in the retaliation. They refused to sell the gun back to the

Defendant.

      Later that night, after receiving a tip from co-defendant Matthew Smith

about the location of some 7th Street Gang members, 10th Street Gang

members and associates who had firearms left Sam Thurmond’s and James

Foxworth’s apartment and rode in cars to the area of 155 Pennsylvania Street


                                          7
     Case 1:09-cr-00331-RJA     Document 2149     Filed 10/30/17   Page 8 of 17




and assembled in an nearby alley. Defendant Anastasio had no firearm and

stayed at the apartment, but Douglas Harville, with the .44 caliber handgun the

Defendant had handed him, was among them. They burst from the alley shooting

at people on and near the porch of 155 Pennsylvania Street and killed Brandon

MacDonald and Darinell Young. At least five guns were fired during the attack.

Brandon MacDonald was killed by a .380 caliber round that was recovered from

his chest. Darinell Young died after being shot multiple times. Durell Maddox,

Miguel Albaran, Aaron Williams, and Payge Diaz were also shot, but they

survived. Harville had tried to shoot the single-shell .44 caliber handgun that the

Defendant had handed to him, but it did not fire even once.

      Douglas Harville and some of the other 10th Street Gang members and

associates who had shot at the victims near 155 Pennsylvania Street ran back to

Sam Thurmond’s and James Foxworth’s apartment. It was between 10 and 15

minutes after the shooting, and Defendant Anastasio was still there. He

appeared to be upset and expressed that he wished he had been able to

participate in the shooting.

      Defendant Anastasio remained a member of the 10th Street Gang through

at least 2010, when he was recorded on a video making 10th Street Gang signs

with other members of the Gang. When he was asked about the double murder

years later by a New York State Police Investigator, the Defendant admitted that

he had seen the .44 caliber handgun in Sam Thurmond’s and James Foxworth’s


                                         8
     Case 1:09-cr-00331-RJA      Document 2149      Filed 10/30/17    Page 9 of 17




apartment the night of the murders, and that it had only one bullet in it when he

saw it.

                                    DISCUSSION

I. Legal Standards.

      A. Rule 29 Motion for a Judgment of Acquittal.

      Rule 29 of the Federal Rules of Criminal Procedure requires a court to set

aside a jury’s verdict, and to acquit a defendant despite a verdict of guilty, on any

charge for which the evidence is insufficient to sustain the conviction. Fed. R.

Crim. P. 29. But a defendant challenging the legal sufficiency of evidence

supporting a guilty verdict “bears a heavy burden.” United States v. Si Lu Tian,

339 F.3d 143, 150 (2d Cir. 2003).

      The Second Circuit “emphasize[s] that courts must be careful to avoid

usurping the role of the jury." United States v. Facen, 812 F.3d 280, 286 (2d Cir.

2016) (quoting United States v. Jackson, 335 F.3d 170, 180 (2d Cir. 2003)). To

this end, a court views all evidence in the light most favorable to the United

States, and the United States is credited with every reasonable inference that

could have been drawn in its favor. United States v. Facen, 812 F.3d 280, 286

(2d Cir. 2016). Thus, the United States receives the benefit of “all inferences . . .

[on] issues of credibility in favor of the [jury’s] verdict.” United States v. Howard,

214 F.3d 361, 363 (2d Cir. 2000) (ellipsis added). And the “court examines each

piece of evidence and considers its probative value before determining whether it


                                           9
    Case 1:09-cr-00331-RJA       Document 2149       Filed 10/30/17   Page 10 of 17




is unreasonable to find the evidence in its totality, not in isolation, sufficient to

support guilt beyond a reasonable doubt.” United States v. Goffer, 721 F.3d 113,

124 (2d Cir. 2013) (quotation omitted).

      Accordingly, a Rule 29 motion can be granted only when evidence that the

defendant committed the crime alleged “is nonexistent or so meager that no

reasonable jury could find guilt beyond a reasonable doubt.” United States v.

Jiau, 734 F.3d 147, 152 (2d Cir. 2013) (quotations omitted). In even a very close

case, if “either of the two results, a reasonable doubt or no reasonable doubt, is

fairly possible, [the court] must let the jury decide the matter.” United States v.

Applins, 637 F.3d 59, 76 (2d Cir. 2011) (quotation omitted). A motion for a

judgment of acquittal simply “does not provide the trial court with an opportunity

to substitute its own determination of the weight of the evidence and the

reasonable inferences to be drawn for that of the jury.” Facen, 812 F.3d at 286

(quotation omitted).

      B. Rule 33 Motion for a New Trial.

      Rule 33 provides that a court may grant a defendant a new trial “if the

interest of justice so requires.” Fed. R. Crim. P. 33(a); United States v. James,

712 F.3d 79, 107 (2d Cir. 2013). A defendant’s Rule 33 burden to show that a

new trial is warranted is also a heavy burden. United States v. McCourty, 562

F.3d 458, 475 (2d Cir. 2009). A court may exercise its authority under Rule 33

only “sparingly’ and in the most extraordinary circumstances.’ ” United States v.


                                           10
    Case 1:09-cr-00331-RJA      Document 2149       Filed 10/30/17   Page 11 of 17




Sanchez, 969 F.2d 1409, 1413 (2d Cir. 1992) (quotation omitted). “To grant [a]

motion [for a new trial], ‘[t]here must be a real concern that an innocent person

may have been convicted.’ ” United States v. Aguiar, 737 F.3d 251, 264 (2d Cir.

2013) (quotations omitted)).

      On the one hand, Rule 33 “confers broad discretion upon a trial court to set

aside a jury verdict and order a new trial to avert a perceived miscarriage of

justice.” United States v. Sanchez, 969 F.2d 1409, 1413 (2d Cir. 1992). A trial

court is permitted to weigh the evidence and credibility of witnesses. Id. at 1413.

      On the other hand, however, “motions for a new trial are disfavored in this

Circuit; the standard for granting such a motion is strict . . . .” United States v.

Gambino, 59 F.3d 353, 364 (2d Cir. 1995) (ellipsis added). While a court has

“broader discretion to grant a new trial under Rule 33 than to grant a motion for

acquittal under Rule 29,” United States v. Ferguson, 246 F.3d 129, 134 (2d Cir.

2001), the “court must strike a balance between weighing the evidence and

credibility of witnesses and not ‘wholly usurp[ing]’ the role of the jury.” United

States v. Autuori, 212 F.3d 105, 120 (2d Cir. 2000). “It is only where exceptional

circumstances can be demonstrated that the trial judge may intrude upon the jury

function of credibility assessment” under Rule 33. Sanchez, 969 F.2d at 1414. A

court's rejection of trial testimony does not automatically permit a new trial; the

court “must examine the entire case, take into account all facts and

circumstances, and make an objective evaluation.” Ferguson, 246 F.3d at 134.


                                           11
    Case 1:09-cr-00331-RJA     Document 2149      Filed 10/30/17   Page 12 of 17




“The ultimate test is whether letting a guilty verdict stand would be a manifest

injustice.” United States v. Canova, 412 F.3d 331, 349 (2d Cir. 2005) (quotation

omitted).

II. The Murder-in-Aid-of-Racketeering Counts.

      Defendant Anastasio argues that there was insufficient evidence to

establish beyond a reasonable doubt that he was guilty of the racketeering

murders in violation of 18 U.S.C. § 1959(a) charged in Counts 3 and 4 of the

Indictment for the April 17, 2006 murders of Brandon MacDonald and Darinell

Young. The five elements of those offenses are:

             . . . (1) that the organization was a RICO enterprise, (2)
             that the enterprise was engaged in racketeering activity as
             defined in RICO, (3) that the defendant in question had a
             position in the enterprise, (4) that that defendant
             committed or aided and abetted the murder, and (5) that
             his general purpose in so doing was to maintain or
             increase his position in the enterprise.

United States v. Persico, 645 F.3d 85, 105 (2d Cir. 2011) (citations omitted).

Racketeering murder in violation of 18 U.S.C. § 1959(a) can be predicated on

state-law murder in aid of racketeering. United States v. Diaz, 176 F.3d 52, 79

(2d Cir. 1999).

      New York law provides, in relevant part, that “a person is guilty of murder in

the second degree when . . . [w]ith intent to cause the death of another person,

he causes the death of such person . . . .” N.Y. Penal Law § 125.25(1). New York

law further provides that a person is criminally liable as an accessory or


                                         12
    Case 1:09-cr-00331-RJA      Document 2149     Filed 10/30/17   Page 13 of 17




accomplice to an offense committed by another person when, “acting with the

mental culpability required for the commission thereof, he solicits, requests,

commands, importunes, or intentionally aids such person to engage in such

conduct.” N.Y. Penal Law § 20.00. When it comes to criminal culpability under

New York law, whether a person was an actual perpetrator of the crime or guilty

only as an accessory is irrelevant. See e.g., People v. Rivera, 85 N.Y. 2d 766

(1995). There is no distinction between guilt as a principal or as an accessory, as

long as the accessory has the same intent as the principal. Id.

      The Court finds the evidence in this case is legally sufficient to prove

Defendant Anastasio’s guilt of accessory to murder in violation of N.Y. Penal Law

§§ 20.00 and 125.25(1) beyond a reasonable doubt. When the Defendant

decided to relinquish the .44 caliber handgun to Douglas Harville after arguing

about it with Harville in James Foxworth’s bedroom, it was a decision not to

participate as a principal in the impending retaliation. But the jury had legally

sufficient evidence to support its conclusion that the Defendant’s acts of

relinquishing his own claim to the gun, and then handing the gun to Harville, were

conduct by the Defendant that aided the murderous retaliation at 155

Pennsylvania Avenue for the earlier shooting of Robert Sanabria, and that the

Defendant acted with the same intent to trigger the natural and probable

consequences of the shooting attack as the principals. See e.g., People v.

Williams, 123 A.D. 3d 527 (1st Dep’t 2014) (conviction for accessory to


                                         13
    Case 1:09-cr-00331-RJA     Document 2149      Filed 10/30/17   Page 14 of 17




attempted murder for handing gun to accomplice after preparing it to fire).

      Similarly, the evidence of Defendant Anastasio’s discussion with Harville

about which of them would participate in the retaliation was legally sufficient to

support a conclusion that the Defendant handed over the gun only after deciding

Harville had strong reasons and a superior claim in the 10th Street Gang’s culture

to retaliate for the shooting of Sanabria. Harville was a higher-ranking member of

the Gang, he was personally very close with Robert Sanabria’s brother, Gang

member Jonathan Delgado, and he was very close to having been shot by 7th

Street Gang member Luis Medina himself. Accordingly, a reasonable jury could

have concluded that, when the Defendant handed the gun to Harville, the

Defendant still intended that Gang members, including Harville and other Gang

associates would retaliate murderously, and that the Defendant intended that they

do so. The evidence was legally sufficient and the Defendant’s Rule 29 motion

for a judgment of acquittal is denied.

      Defendant Anastasio’s additonal conduct before the murders, when he

attempted to buy back a shotgun he had previously sold to a member of the Zolo

Boys, tended to show and confirm that the Defendant shared the principals’

intent. Actively seeking a shotgun so that he could personally participate in the

impending shootings was probative that the Defendant still sought to participate

as a principal shoot the victims.

      Defendant Anastasio argues that his conduct consisted only of his mere


                                         14
    Case 1:09-cr-00331-RJA      Document 2149    Filed 10/30/17   Page 15 of 17




knowing presence during the planning and preparations for the attack, but

accepting that argument would require that the Court overlook reasonable

inferences available to the jury based on the testimony that the Defendant

relinquished his claim to the .44 caliber handgun, handed it to Douglas Harville,

and sought another gun to use. “The government's case need not exclude every

possible hypothesis of innocence,” United States v. Martinez, 54 F.3d 1040,

1042–43 (2d Cir. 1995) (internal quotation marks omitted), to withstand a Rule 29

motion.

      Moreover, Defendant Anastasio’s conduct shortly after he knew of the

shootings, when he appeared upset that he had not been permitted to take a gun

and participate in the attack at 155 Pennsylvania Avenue, and expressed that he

wished he had been able to participate in the shooting, further tended to show

and confirm that the Defendant shared the principal shooters’ intent. The

evidence showed that when the Defendant decided not to be a principal in the

retaliation, he acted as an accessory by handing the gun to Douglas Harville.

The Court therefore finds that the jury’s verdict of guilty as an accessory was not

against the weight of the evidence or a miscarriage of justice. The Defendant

fails to carry his heavy burden under Rule 33 to justify the Court usurping the

jury’s role and granting a new trial.

      Fundamentally, Defendant Anastasio seeks to dispute the extent of his

involvement in the 10th Street Gang and trial witnesses’ testimony about his


                                         15
    Case 1:09-cr-00331-RJA       Document 2149    Filed 10/30/17   Page 16 of 17




conduct in connection with the double murders by impugning the credibility of

cooperating witnesses who testified about his involvement and about the events

surrounding the murders. However, as stated above with respect to the

Defendant’s Rule 29 motion, the Court may not weigh the significance of

evidence or resolve inconsistent evidence against the jury's verdict. See e.g.,

United States v. Cunningham, 723 F.2d 217, 232 (2d Cir. 1983). The

Defendant's efforts to impeach the testimony of witnesses in support of his Rule

29(c) motion fail as a matter of law.

      Similarly, the Court found cooperating witnesses Douglas Harville and

Nicholas Luciano, the two main witnesses to conduct showing Defendant

Anastasio’s intent, to be credible witnesses, and the Court declines to usurp the

jury’s role by granting a new trial pursuant to Rule 33. Examining the entire case,

taking into account all the facts and circumstances brought out in the credible

evidence, the Court is unable to find that letting stand the murder in aid of

racketeering verdicts returned by the jury on Courts 3 and 4 of the Indictment

would be a manifest injustice.

III. The RICO Conspiracy Count.

      Defendant Anastasio repeats the grounds for his Rule 29 and Rule 33

motions in challenging the two Special Factor findings of the jury in connection

with the guilty verdict on the RICO conspiracy violating 18 U.S.C. § 1962(d)

charged in Count 1 of the Indictment. See Dkt. No. 1774, p. 8. For the same


                                         16
    Case 1:09-cr-00331-RJA      Document 2149     Filed 10/30/17   Page 17 of 17




reasons as are stated above, the Court concludes the evidence that the

Defendant was an accessory to the murders was legally sufficient, and the

Special Factors findings were not a manifest injustice.

                                   CONCLUSION

      For the foregoing reasons, the motions of Defendant Domenico Anastasio

for a judgment of acquittal pursuant to Fed. R. Crim. P. 29(c) on Counts 3 and 4

of the Indictment charging him with murders in aid of racketeering in violation of

18 U.S.C. § 1959(a), and to set aside special findings of the same two murders in

relation to his role in a RICO conspiracy in violation of 18 U.S.C. § 1962(d), or for

a new trial on all of three Counts pursuant to Fed. R. Crim. P. 33 are denied.

Sentence will be imposed December 7, 2017, at 12:30 p.m.

      SO ORDERED.



                                         S/Richard J. Arcara
                                       HONORABLE RICHARD J. ARCARA
                                       UNITED STATES DISTRICT COURT


Dated: October 30, 2017




                                         17
